         Case 4:24-cv-02955-JST Document 28 Filed 08/23/24 Page 1 of 2




 1   BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
 2   Emily A. Horne (State Bar No. 347723)
     Ines Diaz Villafana (State Bar No. 354099)
 3   1990 North California Blvd., 9th Floor
     Walnut Creek, CA 94596
 4   Telephone: (925) 300-4455
     Facsimile: (925) 407-2700
 5   E-mail: ltfisher@bursor.com
             ehorne@bursor.com
 6           idiaz@bursor.com
 7   Attorneys for Plaintiffs
 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11

12
     CASINA BUTLER and BENSON PAI,                        Case No. 4:24-cv-02955-JST
13   individually and on behalf of all others similarly
     situated,                                            NOTICE OF PLAINTIFFS’ INTENTION
14                                                        TO FILE THEIR FIRST AMENDED
                                           Plaintiffs,    COMPLAINT
15
            v.                                            Hon. Jon S. Tigar
16
     BIC USA INC.,
17
                                         Defendant.
18

19

20

21

22

23

24

25

26

27

28

     NOTICE OF PLAINTIFFS’ INTENTION TO FILE THEIR FIRST AMENDED COMPLAINT
     CASE NO. 4:24-CV-02955-JST
         Case 4:24-cv-02955-JST Document 28 Filed 08/23/24 Page 2 of 2




 1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, please take notice
 2   Plaintiffs Casina Bulter and Benson Pai do not intend to oppose Bic’s motion to dismiss filed on
 3   August 12, 2024 (ECF No. 23). Instead, Plaintiffs intend to exercise their right to file an amended
 4   complaint pursuant to Federal Rule of Civil Procedure Rule 15(a)(1)(B). Consistent with Federal
 5   Rule of Civil Procedure 15(a)(1)(B), Plaintiffs will file their amended complaint by September 3,
 6   2024.
 7
     Dated: August 23, 2024               BURSOR & FISHER, P.A.
 8
                                          By:     /s/ L. Timothy Fisher
 9
                                           L. Timothy Fisher (State Bar No. 191626)
10                                         Emily A. Horne (State Bar No. 347723)
                                           Ines Diaz Villafana (State Bar No. 354099)
11                                         1990 North California Blvd., 9th Floor
                                           Walnut Creek, CA 94596
12                                         Telephone: (925) 300-4455
                                           Facsimile: (925) 407-2700
13                                         E-mail: ltfisher@bursor.com
                                                  ehorne@bursor.com
14                                                idiaz@bursor.com
15
                                          Attorneys for Plaintiffs
16

17

18

19

20

21

22

23

24

25

26

27

28

     NOTICE OF PLAINTIFFS’ INTENTION TO FILE THEIR FIRST AMENDED COMPLAINT                               1
     CASE NO. 4:24-CV-02955-JST
